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UNITED STATES DISTRICT COURT

 

DISTRICT OF NEW JERSEY
NEWARK, NEW JERSEY
CHRISTINE MACCHIA,
Plaintiff,
VS. : Case No.
ALLERGAN, INC.,
APOLLO ENDOSURGERY INC.

XYZ CORP., JOHN AND JANE
DOES 1-10 (FICTITIOUS PARTIES)
Defendants.

NOTICE OF REMOVAL

Defendants Allergan, Inc. (“Allergan”) and Apollo Endosurgery, Inc. (“Apollo”),
pursuant to 28 U.S.C. § 1441 and 28 U.S.C. § 1446, hereby give notice of removal of a civil
action brought against them in the Superior Court of New Jersey, Law Division, Bergen County.
In support of this Notice of Removal, Defendants Allergan and Apollo state as follows:

INTRODUCTION

1. Plaintiff commenced this action in the Superior Court of New Jersey, Law
Division, Bergen County by way of a complaint filed on August 11, 2020, Docket No. L-4684-
20, entitled Christine Macchia v. Allergan Inc., et al. A true and accurate copy of the Summons
and Complaint is attached hereto as Exhibit A.

2. Defendant Allergan received a copy of the Summons and Complaint on August
21, 2020. A copy of Plaintiff's “Affidavit of Service” is attached hereto as Exhibit B.

3. Defendant Apollo has not received service of the Summons and Complaint.

Apollo nonetheless consents to, and joins in, this Notice of Removal.

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4. Other than the Summonses and Complaint, neither Defendant has received any
other process, pleadings, motions, or orders.

5. This Notice of Removal is being filed within thirty days of Defendant Allergan’s
receipt of Plaintiff's Complaint and is therefore timely pursuant to 28 U.S.C. § 1446(b).

6. This Court has original jurisdiction over this action pursuant to 28 U.S.C. § 1332
and is one which may be removed to this Court pursuant to 28 U.S.C. § 1441 and § 1446. This
action is between citizens of different states and the matter in controversy exceeds the sum of
$75,000 exclusive of interest and costs.

7. This Notice of Removal is being filed in the United States District Court for the
District of New Jersey, Newark Division, which is the District Court of the United States for the
district and division within which the state court action is pending, as required by 28 U.S.C. §§

1441(a) and 1446 (a).

BACKGROUND

8. This is a products liability medical device action. Plaintiff claims that she had a
LAP-BAND® produced by Allergan, Inc. surgically installed after consultation with her
physician. See Exhibit A § 6. Plaintiff further claims that sometime in August 2018, she was
admitted to the emergency room at The Valley Hospital in Ridgewood, New Jersey and “was
advised that due to complications arising out of the use of the Allergan lap-band it had to be
removed and that she needed some other surgical repair work to her gastrointestinal tract.” /d. at
{{ 7-8. Plaintiff further claims to have “suffered painful, severe and permanent injuries as a

result of the complications arising out of the use of the Allergan lap-band.” Jd. at ] 9.

COMPLETE DIVERSITY OF CITIZENSHIP EXISTS
BETWEEN PLAINTIFF AND DEFENDANTS
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9. Plaintiff Christine Macchia alleges in her Complaint that, at all times relevant, she
resided in Washington Township, Bergen County, New Jersey. /d. at | 1. Plaintiff is therefore

deemed a citizen of New Jersey for purposes of diversity jurisdiction.

10. Defendant Allergan is incorporated under the laws of the state of Delaware with
its principal place of business in California. Therefore, Allergan, Inc. is a citizen of Delaware

and California for purposes of diversity jurisdiction. 28 U.S.C. § 1332(c)(1).

11. | Defendant Apollo is incorporated under the laws of the state of Delaware with its
principal place of business in Texas. Therefore, Apollo is a citizen of the states of Delaware and

Texas for purposes of diversity jurisdiction. 28 U.S.C. §1332(c)(1).

12. Accordingly, there is complete diversity of citizenship between the parties to this

action.
THE AMOUNT IN CONTROVERSY REQUIREMENT IS SATISFIED

13. In controversies between citizens of different states, “The district courts shall
have original jurisdiction of all civil actions were the matter in controversy exceeds the sum or
value of $75,000, exclusive of interest and costs.” 28 U.S.C. § 1332

14. | Defendants can demonstrate that Plaintiffs claims are likely to exceed $75,000
given that she claims that she “has suffered painful, severe and permanent injuries as a result of
the complications arising out of the use of the Allergan lap-band.” Jd. at { 9. Additionally,
Plaintiff seeks “compensatory damages, attorney’s costs and fees, and any other relief that Court

deems fit.” Jd. at “Wherefore” clauses.
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15. Further, Plaintiff alleges that she had to undergo surgery to remove her LAP-
BAND® medical device, and needed additional “surgical repair work to her gastrointestinal
tract.” Jd. at | 8.

16. | These allegations plainly indicate an amount in controversy greater than $75,000.
“In today's world, it does not take much to exceed $75,000.” Wilson v. Hibu Inc., 2013 WL
5803816, at *3 (N.D. Tex. Oct. 28, 2013) (adopting “common-sense approach” and holding that,
due to the claims and damages sought, the amount in controversy facially exceeded $75,000).

17. Based on Plaintiff's allegations of personal injuries and the claim for
compensatory damages, it is facially apparent that the amount in controversy exceeds the
jurisdictional minimum of $75,000 set forth in 28 U.S.C. § 1332. The second factor for federal
court diversity jurisdiction is satisfied.

CONCLUSION

18. Defendants Allergan and Apollo hereby remove Docket No. BER-L-4684-20
titled Christine Macchia v. Allergan, Inc., et als. pending in the Superior Court of New Jersey,
Bergen County, to the United States District Court District of New Jersey, Newark Division.

19. By filing this Notice of Removal, Defendants Allergan and Apollo do not waive
any defenses or rights. Defendants specifically reserve all defenses, objections and motions,
including personal jurisdiction, submission of general jurisdiction to the Court, venue,
insufficiency of process and insufficiency of service of process, and do not waive service.

20. Upon filing of this Notice, Defendants will give written notice thereof to
Plaintiff’s attorney and will file a copy of this Notice with the Clerk of the Superior Court of

New Jersey, Bergen County as provided by law.
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Dated: September 18, 2020

Respectfully submitted,

LAW OFFICES OF ROBERT J. McGUIRL, LLC

Liebe p iy Ser.

Robert J. McG@irl, Esq. (RM5005)

Attorney ID: 003631981

295 Spring Valley Road

Park Ridge, New Jersey 07656

(201) 391-8200

(201) 391-8660

robert.mcguirl@rjmlaw.org

Attomeys for Defendants Allergan, Inc.
and Apollo Endosurgy, Inc.
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CERTIFICATE OF SERVICE
The undersigned hereby certifies that on September 18, 2020, a true and correct copy of
the above and foregoing document was filed electronically with the Clerk of this Court via ECF

System and served via electronically upon the following as follows:

Via email

Robert J. De Groot, Esq.

Law Offices of Robert J. De Groot
60 Park Place

Suite 105

Newark, NJ 07102

robertidegroot(@aol.com
Attorney for Plaintiff

Mbt} AA
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EXHIBIT “A”

 
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Attorney(s): ROBERT J. DE GROOT, ESQ.
Attorney Id No.: 28235-1972
Law Firm:
Address: 60 Park Place, Suite 105
Newark, New Jersey 07102
Telephone No.: (973) 643-1930
Fax No. (973) 643-7231
¥-mail: robertjdegroot@aol.com
Attorney(s) for Plaintiff(s): CHRISTINE MACCHIA
CHRISTINE MACCHIA SUPERIOR COURT OF NEW JERSEY
LAW DIVISION
BERGEN COUNTY
Plaintiff(s)
VS.
ALLERGAN, INC.; APOLLO ENDOSURGERY INC.; XYZ DOCKET NO.: BER-L-004684-20
CORP., JOHN AND JANE DOES (1-10), (FICTITIOUS
PARTIES) CIVIL ACTION
Defendant(s) Summons

FROM THE STATE OF NEW JERSEY
Tv the Defendant(s) Named Above:

The plaintiff, named above, has filed a lawsuit against you in the Superior Court of New Jersey. The complaint
attached to this summons states the basis for this lawsuit. If you dispute this complaint, you or your attorney must file a
written answer or motion and proof of service with the deputy clerk of the Superior Court in the county listed above within
35 days from the date you received this summons, not counting the date you received it. (A directory of the addresses of
each deputy clerk of the Superior Court is provided and available in the Civil Division Management Office in the county
listed above and online at http://www.njeourts.gov/forms/10153_deptyclerklawref.pdf) If the complaint is one in foreclosure,
then you must file your written answer or motion and proof of service with the Clerk of the Superior Court, Hughes Justice
Complex, P.O. Box 971, Trenton, NJ 08625-0971. A filing fee payable to the Treasurer, State of New Jersey and a completed
Case Information Statement (available from the deputy clerk of the Superior Court) must accompany your answer or motion
when it is filed. You must also send a copy of your answer or motion to plaintiff's attorney whose name and address appear
above, or to plaintiff, if no attorney is named above. A telephone call will not protect your rights; you must file and serve a
written answer or motion (with fee of $ 175.00 and completed Case Information Statement) if you want

the court to hear your defense.

If you do not file and serve a written answer or motion within 35 days, the court may enter a judgment against you
for the relief plaintiff demands, plus interest and costs of suit. If judgment is entered against you, the Sheriff may seize your
money, wages or property to pay all or part of the judgment.

3) - Summons - Law or Chancery Divisions Printed by ALL-STATE LEGAL®

Superior Court. Appendix XIJ-A. CN 10153. A Division of ALL-STATE International, [nc.
Rev. U/ld  PIV18 www,aslegal.com 800.222 0510 Page 1
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If you cannot afford an attorney, you may call the Legal Services office in the county where you live or the
Legal Services of New Jersey statewide hotline at 1-888-LSNJ-LAW (1-888-576-5529). If you do not have an
attorney and are not eligible for free legal assistance, you may obtain a referral to an attorney by calling one of the
Lawyer Referral Services. A directory with contact information for local Legal Services Offices and Lawyer
Referral Services is provided and available in the Civil Division Management Office in the county listed above and

online at http://www.njcourts.gov/forms/10153_deptyclerklawref.pilf,

Date: August 20, 2020 MICHELLE M. SMITH
Clerk of the Superior Court

Name of Defendant to be Served: ALLERGAN, INC.

Address of Defendant to be Served: 5 Giralda Farms, Madison, New Jersey 07940

31 - Summons - Law or Chancery Divisions Printed by ALL-STATE LEGAL*
Superior Court. Appendix XTI-A. CN 10153. A Division of ALL-STATE International, Inc.
Rev. 11/14. PiV18 www.aslegal.com 800.222 0510 Page 2
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Robert J. DeGroot, Esq.
Attorney ID: 28235-1972
60 Park Place, Suite 105
Newark, New Jersey 07102
Attorney for the Plaintiff
(973) 643-1930

 

x
CHRISTINE MACCHIA : SUPERIOR COURT OF NEW JERSEY
Plaintiff; : BERGEN COUNTY-LAW DIVISION
: CIVIL PART
v. : DOCKET NO. BER-L-004684-20
COMPLAINT

ALLERGAN, INC.,
APOLLO ENDOSURGERY INC.
XYZ CORP., JOHN AND JANE
DOES 1-10 (FICTITIOUS PARTIES) :
Defendant(s).
- warenee X

 

Plaintiff, Christine Macchia, by and through her attorney, Robert J. DeGroot, Esq.,
hereby alleges by way of Complaint the following:
PARTIES

1. Plaintiff, Christine Macchia, (hereinafter referred to as the “Plaintiff’) at all times
relevant hereto resided in Washington Township in the County of Bergen, in the State of
New Jersey.

2. Allergan, Inc. (hereinafter referred to as “Allergan”) at all times relevant hereto is an
entity who is licensed to do business in New Jersey and whose offices are located at 5
Giralda Farms Madison, NJ 07940.

3. Apollo Endosurgery Inc. (hereinafter referred to as “Apollo”) is an entity whose licensed

and permitted to do business with the State of New Jersey and has its business offices in
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Austin, Texas. Apollo purchased Allergan Inc.and assumed its assets, liabilities, debts
and obligations.

4. XYZ Corp. is an entity, whose identity is unknown, that is the manufacturer, producer,
and/or maker of the Lap-Band product.

Facts Common to All s

5. The Plaintiff repeats and reasserts the preceding paragraphs as if fully plead herein.

6. Plaintiff had a lap-band produced by Allergan Inc. surgically installed after a
consultation with her physician who deemed her an eligible candidate for the device.

7. In August 2018, Plaintiff was admitted to the emergency room at The Valley Hospital in
Ridgewood, New Jersey.

8. Plaintiff was advised that due to complications arising out of the use of the Allergan
lap-band, it had to be removed and she needed some other surgical repair work to her
gastrointestinal tract.

9. Plaintiff has suffered painful, severe and permancnt injuries as a result of the

complications arising out of the use of the Allergan lap-band.

- Violation w Jerse ct Liabili - Manufacturing and design defect
10. Plaintiff repeats and realleges the assertions contained in the previous paragraphs as if
fully plead herein.
11. The manufacturer of the defective product component, integrated into and caused the

fintshed product to become defective.
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(2. in violation of N.J.S.A. §2A:58C-I et. al. Allergan Inc., where it was feasible and
practical for a safety device to have been installed at the time the component product and
was within the control of the manufacturer, Allergan substantially participated in the
integration of the defective component product into the ultimate design of the defective
finished product.

13. Plaintiff is a reasonably foreseeable user of this product.

14. As a result of this defect, Plaintiff sustained serious, severe, painful and permanent
injuries.

WHEREFORE, Plaintiff demands Judgment and an award of compensatory damages, attorney

costs and fees, and any other relief that Court deems fit.

Count IJ- Violati New Jersey Product Liability Act- Failure to warn

15. Plaintiff repeats and realleges the assertions contained in the previous paragraphs as if
fully plead herein.

16. At the time that Allergan Inc. designed, manufactured, promoted, marketed, sold and
supplied the lap-band used by Plaintiff, the product contained defects that made it
unreasonably dangerous beyond the expectations of the ordinary consumer, and was unfit
for its intended use.

17. The lap-band reached Plaintiff without substantial change in the condition in which it was

sold.
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18. At the time, place, and on the occasions in question, the lap-band was properly used for
the purpose for which it was intended, and such product was in fact defective, and
unreasonably dangerous,

19. The foreseeable risk of harm from the defects in the lap-band could have been reduced or

avoided by providing adequate instructions or warning.

20. In violation of N.J.S.A. §2A:58C-1 et. al., Allergan Inc. did not provide adequate
instructions or warnings regarding the lap-band which were known or should have been
known by Defendant.

21. Asa result of the failure to provide adequate instructions or warnings, Plaintiff sustained
serious, severe, painful and permanent injuries.

WHEREFORE, Plaintiff demands Judgment and an award of compensatory damages, attorney
costs and fees, and any other relief that Court deems fit.
Count IH- Product Defect Causing Injury

22. Plaintiff repeats and realleges the assertions contained in the previous paragraphs as if
fully plead herein.

23. Allergen produced the lap-band product which proximately cause harm to a reasonably
foreseeable user, the Plaintiff, because the product was designed in a defective matter and
a safe reasonable alternative design existed which Allergen failed to incorporate and
produce the lap-band pursuant to that design.

24. Alternatively, the lap-band deviated from Allergan's design specifications and

performance standards and caused the Plaintiff to sustain damages.
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25.

As a result of the product defect, Plaintiff sustained serious. severe, painful and

permanent injuries.

WHEREFORE, Plaintiff demands Judgment and an award of compensatory damages, attorney

costs and fees, and any other relief that Court deems fit.

26

27.

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31.

Count [V- Successor Liability

. Plaintiff repeats and realleges the assertions contained in the previous paragraphs as if

fully plead herein.

Allergen produced the lap-band product which proximately cause harm to a reasonably
foreseeable user, the Plaintiff, because the product was designed in a defective matter and
a safe reasonable alternative design existed which Allergen failed to incorporate and
produce the lap-band pursuant to that design.

Alternatively, the lap-band deviated from Allergan’s design specifications and
performance standards and caused the Plaintiff to sustain damages.

As aresult of the product detect, Plaintiff sustained serious, severe, painful and
permanent injuries.

Apollo Endosurgery Inc. is an entity which purchased Allergan Inc, and assumed its
assets, liabilities, debts and obligations. As a resutt of this purchase it owes consumers of
the lap-band product, such as the Plaintiff, a duty to compensate for any of Allergen’s
product defects.

WHEREFORE, Plaintiff demands Judgment and an award of compensatory damages,

attorney costs and fees, and any other relief that Court deems fit.
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DESIGNATION OF TRIAL COUNSEL
The Plaintiff hereby designates Robert J. DeGroot, Esq., as trial counsel in the within

matter.

we shy 2

Robert J. DeGroot

JURY DEMAND

The Plaintiff hereby demands a trial by jury as to all the issues in the within matter.

PATE /) ip Y Rober, DeCrSeT

CERTIFICATION PURS TOR. 4:5-1

  

The matter in controversy is not the subject of any other action pending in any court or of
a pending arbitration proceeding, and no other action or arbitration proceeding is contemplated.
To the best of the undersigned’s knowledge, no other parties are to be added or must be added in

this matter.

DATE: CO =z
Si OU Robert J. DeGroot

 
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Case Details | Case Number: BER-L-004684-20
Case Caption: MACCHIA CHRISTINE VS ALLERGAN INC.

Court: Civil Part Venue: BERGEN
Case Track: 3 Case Status: Active
Case Type: PRODUCT LIABILITY judge: BISHOP-THOMPSON, AVIS

Law Firm Case ID:
Transaction Information

Transaction ID: UCV20201386812 Received by eCourts On: 08/11/2020

Documents Received
COMPLAINT
Case information Statement

Case Initiation: 08/11/2020
Jury Demand: YES - 6 JURORS
Team: 1

Total Payment Amount’ $250.00
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BERGEN COUNTY COURTHOUSE
SUPERIOR COURT LAW DIV
BERGEN COUNTY JUSTICE CTR RM 415
HACKENSACK NJ 07601-7680
TRACK ASSIGNMENT NOTICE
COURT TELEPHONE NO. (201) 221-0700
COURT HOURS 8:30 AM - 4:30 PM

DATE: AUGUST 11, 2020
RE: MACCHIA CHRISTINE VS ALLERGAN INC.
DOCKET: BER L -004684 20

THE ABOVE CASE HAS BEEN ASSIGNED TO: TRACK 3.

DISCOVERY IS 450 DAYS AND RUNS FROM THE FIRST ANSWER OR 90 DAYS
FROM SERVICE ON THE FIRST DEFENDANT, WHICHEVER COMES FIRST.

THE PRETRIAL JUDGE ASSIGNED IS: HON AVIS BISHOP-THOMPSON

IF YOU HAVE ANY QUESTIONS, CONTACT TEAM 001
AT: (201) 527-2600.

IF YOU BELIEVE THAT THE TRACK IS INAPPROPRIATE YOU MUST FILE A
CERTIFICATION OF GOOD CAUSE WITHIN 30 DAYS OF THE FILING OF YOUR PLEADING.
PLAINTIFF MUST SERVE COPIES OF THIS FORM ON ALL OTHER PARTIES IN ACCORDANCE
WITH R.4:5A-2.
ATTENTION:

ATT: ROBERT J. DE GROOT

ROBERT J. DE GROOT ESQ

60 PARK PLACE

STE 105

NEWARK NJ 07102

ECOURTS
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EXHIBIT “B”
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CHRISTINE MACCHIA, SUPERIOR COURT OF NEW JERSEY
Law Division
Plaintiff, Bergen County
Vv.

DOCKET NO.: BER-L-004684-20
ELLERGAN, INC.; ET ALS

 

 

 

Defendants. AFFIDAVIT OF SERVICE
Person to be served (Name & Address); Cost of Service pursuant to R. 4:4-3(c)
Allergan, Inc, $

5 Giralda Farms
Madison, NJ 07940

 

 

 

Attorney:

Robert J. DeGroot, Esquire

56 Park Place

Newark, NJ 07102

Papers Served: Summons and Complaint

 

 

 

 

 

Service Data:

Served Successfully _X = NotServed Date: 8/21/29 Time:12:00 p.m.
Delivered a copy to him/her personally Name of Person Served
Left a copy with a competent household John Glinko, Security

member over 14 years of age residing
therein (indicate name & relationship at right)

XX__Left a copy with a person authorized to
accept service, e.g., managing agent,
registered agent, etc.

Description of Person Accepting Service:

Sex: M Age: 59 Height: 5°10" Weight: 170 ibs. Skin Color: White Hair Color: Brown

 

Server Data:

|, JOHN PEREZ was at the time of servicea
competent adult not having a direct interest in the
litigation. | declare under penalty of perjury that the
foregoing is true and correct.

OE eas

JOHN/PEREZ y
NJ Legal Process ice, LLC
Mazia Teresa Perez

' : 78 Sandy Island Drive
Notary Public, Ni .
Dnission Exner neh Aa Brick, NJ 08723

    

 

 

 

 

 

 
